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    IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE
__________________________________________
                                         )
THE UNITED STATES                        )
                                         )
          Plaintiff,                     )
                                         )
     v.                                  )
                                         )
CROWN CORK & SEAL, USA, INC.             ) Court No. 21-361
and CROWN CORK & SEAL CO., INC.,         )
                                         )
          Defendant,                     )
_________________________________________)

          THE UNITED STATES' OPPOSITION TO
 DEFENDANTS' MOTION TO DISMISS THE AMENDED COMPLAINT

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     IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE

THE UNITED STATES,               )
                                 )
      Plaintiff,                 )
                                 )
   v.                            )                     Court No. 21-361
                                 )
                                 )
CROWN CORK & SEAL, USA, INC.     )
and CROWN CORK & SEAL CO., INC., )
                                 )
      Defendants.                )

           THE UNITED STATES’ OPPOSITION TO
 DEFENDANT’S MOTION TO DISMISS THE AMENDED COMPLAINT
      Pursuant to Rules 8, 9 and 12 of the Rules of the United States Court of

International Trade (USCIT R.), the United States respectfully submits this

opposition to defendants’ motion to dismiss (Mot., ECF No. 24) the amended

complaint (Am. Compl., ECF No. 23) filed by the United States on June 8, 2022.

For the reasons stated below, defendants’ motion should be denied.

                                INTRODUCTION

      From 2004 through 2009, defendants Crown Cork & Seal Co., Inc. (CCS)

and Crown Cork & Seal, USA, Inc. (CCS USA) conspired with others to

misclassify metal lids imported from Europe into the United States. Defendants

caused 543 false statements to be submitted to the United States over this six-year
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period, allowing them to avoid paying more than $1.2 million in duties. They

knew these statements were false: They were sophisticated importers operating

within a billion-dollar conglomerate that for 100 years had specialized in the

manufacture of these lids. They imported these lids from related companies. And

while they falsely classified lids from Europe, at the same time they correctly

classified the same lids when importing from them Canada, for which no duties

were owed. This was no coincidence or mistake; it was a concerted strategy.

      The amended complaint set forth these facts and other circumstances

depicting a narrative of fraud that was “plausible on its face.” See Ashcroft v.

Iqbal, 556 U.S. 662, 663 (2009). Moreover – and fatal to defendants’ motion to

dismiss – for each of the 543 entries made by CCS and CCS USA, the amended

complaint detailed the entry number, the date of entry, the place of entry, the false

classification made by defendants, the correct classification of these metal lids, the

correct duty rate, the amount of duties they avoided paying for each entry (i.e., the

loss of revenue), and the value of each entry, among other things.

      In other words, for each of defendants' 543 fraudulent entries, the amended

complaint sets forth “'who, what, when, where and how’ of the alleged fraud.”

Exergen Corp. v. Wal-Mart Stores, Inc., 575 F.3d 1312, 1327 (Fed. Cir. 2009)

(quoting DiLeo v. Ernst & Young, 901 F.2d 624, 627 (7th Cir. 1990)). That is the

law of this Circuit and every other. And accordingly, it is the law of this Court.


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      Defendants would have the Court abandon these precedents. First, they

dispute and debate the facts detailed in the amended complaint, as if this were their

closing argument to the jury. Mot. at 11-14. Second, they set aside Iqbal's dictate

that a Court must only “determine whether [facts in a complaint] plausibly give

rise to an entitlement to relief,” 556 U.S. at 662 (2009), and announce a new rule

that this complaint must detail the factual minutiae underlying defendants' 543

separate acts of fraud over a six-year period. Mot. at 14-16. Third, they declare

that a complaint against a corporation must identify specific employees who

engaged in the fraud and must detail what conduct they engaged in. Fourth, they

attempt to apply Rule 9(b)'s standard for fraud to the Government's gross

negligence claim, falsely asserting that the Supreme Court in Iqbal addressed gross

negligence claims. Mot. at 4-5.

      Defendants' arguments are wholly unmoored from the caselaw surrounding

Rule 9(b). First, Rule 9(b) motions are not fora for debating facts. Disputes of fact

will be resolved at trial by the jury. Second, a complaint need not enumerate each

discrete act underlying a fraud scheme – it need only detail facts sufficient to

“allow[] the court to draw the reasonable inference that the defendant is liable for

the misconduct alleged.” Iqbal, 556 U.S. at 663. Third, courts have uniformly

held that complaints which allege fraud by corporations need not, and often cannot,

identify employees or agents who executed the fraud, or how they did it. Finally,


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Rule 9(b) does not apply to claims of gross negligence: neither Iqbal nor any other

court has ever suggested this. And defendants otherwise offer no coherent legal

theory for a dismissal of the gross negligence count in this instance.

                              SUMMARY OF FACTS

      The companies named in the amended complaint – from CCS, CCS USA, to

the numerous metal lid manufacturers in Europe and Canada (Crown Companies) –

were and are affiliated with one another and controlled by the same company,

Crown Holdings, Inc. They shared a business purpose: the manufacture and sale of

metal lids and can ends. The inter-relatedness and common purpose of these

companies is significant, because they impel the inference that defendants knew

what they were importing and exporting, and how to classify this merchandise.

These relationships defeat the notion that their categorical misclassification of lids

imported from Europe over six years was an inadvertent mistake or an

extraordinary coincidence, as they would have this Court believe.

I.    Crown Holdings, CCS, And CCS USA

      Crown Holdings is a multi-billion dollar international conglomerate of

companies that, in one form or another, has operated for more than a century.

Crown Holdings represents itself to be “a worldwide leader in the design,

manufacture and sale of packaging products for consumer goods.” See Ex. 1. At




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the end of 2004, Crown Holdings operated 185 plants along with sales and service

facilities throughout 43 countries and globally employed 27,600 persons.

      Crown Holdings, CCS, and CCS USA were and are in the business of selling

metal lids and can ends. Each word in their company names – Crown, Cork and

Seal – denominates an end or seal of some sort. These companies have engaged in

significant business activity. In 2004, the consolidated net sales for the Crown

Holdings companies was $7.2 billion. Id. That year Crown Holdings sold

$2,324,000,000 worth of metal food cans and ends. See id., p. 59. Five years later,

in 2009, Crown Holdings’ net sales increased to $7.9 billion, of which, $2.6 billion

was derived from the sale of metal food cans and ends. See Ex. 2. At the end of

2020, the company employed 33,000 people and its net sales totaled $11.6 billion,

See Ex. 3. The amended complaint described how these companies operated at the

same business address and had the same executive officers.

II.   Crown Companies’ Fraudulent Entry Of Metal Lids

      Between June 27, 2004 and May 11, 2009 (the subject time period), CCS,

CCS USA and the Crown Companies together caused the entry into U.S.

commerce of 543 entries of metal ends, or lids, for cans. These lids are commonly

used to seal metal food containers and have pull tabs that enable consumers to

easily open the containers to access the contents. It is undisputed that these metal

lids should be described and classified as “Stoppers, caps and lids (including


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crown corks, screw caps, and pouring stoppers), capsules for bottles, threaded

bungs, bung covers, seals and other packing accessories, and parts thereof, of base

metal: Other [than Crown corks (including crown seals and caps), and parts

thereof]” under subheading 8309.90.0000 (Subheading 8309.90) of the

Harmonized Tariff Schedule of the United States (HTSUS) (emphasis supplied).

      Companies importing metal lids under Subheading 8309.90 during the

subject time period paid a 2.6 percent ad valorem duty rate. However, if these

metal lids were imported from Canada, they were exempted from duty by the

North American Free Trade Agreement (NAFTA).

      In the amended complaint, we describe how, during the subject time period,

CCS and CCS USA imported metal lids from Canada from Crown Metal

Packaging Canada LP, correctly using Subheading 8309.90. During this same

period, CCS and CCS USA also imported metal lids from several European

manufacturers also controlled by Crown Holdings, including Crown Emballage

(France); Crown Packaging UK, PLC (now known as Crown Packaging UK LTD)

and Crown Aerosols (UK). The complaint described that for imports of metal lids

from Europe, CCS and CCS USA used HTSUS subheading 7326.90.1000 – “Other

articles of iron or steel: Other: Of tinplate.” (Subheading 7326.90). Importers of

merchandise entered under Subheading 7326.90 were not required to pay a duty.




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      Neither CCS nor CCS USA dispute that they falsely declared that the metal

lids from Europe fell under Subheading 7326.90. Neither CCS nor CCS USA

dispute that the proper classification for these metal lids was Subheading 8309.90.

Defendants engage in rhetorical gamesmanship by asserting that their false

statements were not “false statements,” Mot. at 13-14, but their wordplay belies the

sober reality that (1) they caused these false statements to be submitted to the

Government, and (2) by these false statements, they immediately deprived United

States taxpayers of more than $1.2 million.

      Among other things, the amended complaint adds new context to the facts

described in the original complaint, dispelling misleading claims defendants made

during oral argument of their first motion to dismiss. Foremost, we clarified the

brokers' role in these transactions: Contrary to defendants' suggestion that brokers

could or would somehow cause the fraud, in the amended complaint we explained

that CCS and CCS USA – and not their brokers – directed the classification of

these metal lids. In fact, defendants' brokers “never possessed, observed, or

otherwise controlled any of the subject metal lids.” Am. Compl. ¶ 15. We further

detailed how the brokers “relied exclusively upon representations from CCS, CCS

USA, . . . for descriptions, entry information and classifications relating to these

metal lids.” Id. We also alleged how the defendants and their brokers all




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understood that CCS and CCS USA bore the responsibility for submitting accurate

information to CBP. Am. Compl. ¶¶ 15-16.

      The amended complaint also addresses the fact that the agents of CCS and

CCS USA were acting within the scope of their responsibilities at CCS and CCS

USA when they caused these 543 false statements to be submitted to the

Government. Am. Compl. ¶ 19. These facts add further context to CCS and CCS

USA's false statements, because the conduct of defendants' agents and employees

acting within the scope of their employment will, by law, be imputed to CCS and

CCS USA. See New York Central RR Co. v. United States, 212 U.S. 481 (1909),

and progeny.

      We further alleged that defendants submitted these false statements

knowingly, detailing circumstances which foreclose the notion that this was

inadvertent. Am. Compl. ¶¶ 22-24. We described how, during the subject period,

defendants used the correct Subheading 8309.90 “more than 99 percent of the time

when importing metal lids from Canada.” Am. Compl. ¶ 22. However, when

importing lids from Europe, 99 percent of the time defendants falsely declared that

the metal lids fell under Subheading 7326.90. Am. Compl. ¶ 23. Taken together,

these events reduce to nearly zero the statistical probability that defendants'

misclassification of lids from Europe could have been inadvertent or coincidental.

In other words, our amended complaint makes evident the extraordinarily high


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probability that defendants intentionally misclassified these metal lids. See, e.g.,

United States v. Mariner Health Care, Inc., F. Supp.3d 938, 948 (N.D. Cal. 2021)

(statistical probabilities along with “who, what, when, where, & how” defeated

Rule 9(b) motion).

      In the amended complaint, we also provided additional context to the

original complaint by explaining the information attached in Exhibit A of the

amended complaint. We now describe how Exhibit A details, for each of the 543

false statements,

      the specific circumstances underlying each entry, including: (1) the
      person who made the false entry (i.e., CCS or CCS USA); (2) the
      entry number; (3) the correct [HTSUS subheading] that should have
      been used by CCS and CCS USA to enter the subject metal lids;
      (4) the duty rate associated with the correct HTSUS subheading;
      (5) the date the subject metal lids were entered into the United States;
      (6) where – i.e., the port at which – these falsely classified metal lids
      entered the United States; (7) the fact that CCS and CCS paid no
      duties on the metal lids falsely classified; (8) the exact amount of
      duties that CCS and CCS USA should have paid for the metal lids
      they imported, if they had been correctly classified; (10) the total
      revenue lost as a result of CCS or CCS USA’s false statement; and
      (11) the value of the metal lid underlying the entry.

Am. Compl. ¶ 12. In sum, the amended complaint elaborates upon how Exhibit A

to the complaint identified the “who, what, when, where and how” – of each and

every one of the 543 falsified entries made by defendants.




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III.   Administrative Proceedings And Penalty
       On August 8, 2016, U.S. Customs and Border Protection (CBP) issued a pre-

penalty notice to CCS and CCS USA, jointly and severally, alleging fraudulent

violations of 19 U.S.C. § 1592, and alternatively, grossly negligent or negligent

violations relating for the 543 entries at issue. The Government could have issued

a penalty in the amount of $51,152,746 – the merchandise’s domestic value.

Instead, it self-mitigated the penalty amount to $18,092,348.96, approximately 35

percent of the maximum penalty it could have imposed.

       After receiving the pre-penalty notice, the companies asked for an extension

of time to respond, the first of many requests during the administrative penalty

phase. On October 3, 2016, the companies jointly submitted a written pre-penalty

response and requested an oral conference. On November 8, 2016, the companies

submitted a supplemental pre-penalty response. After considering the companies’

written and oral presentations, CBP issued the penalty without change, and

demanded $26,880 in unpaid duties under section 1592(d). On March 31, 2017,

the companies submitted a check from CCS USA’s bank account for the

$26,880.28 in unpaid duties. Neither defendant owes unpaid duties to the

Government.

       The events at the heart of this fraud scheme occurred more than a decade

ago. The original complaint in this matter was delayed because CCS, CCS USA,


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and CBP for years repeatedly entered into statute-of-limitations waivers. Contrary

to defendants' characterization, there were not “ten years” of investigations.

Rather, the Government requested communications and evidence from CCS and

CCS USA that would bear upon whether their false statements were intentional,

but defendants claimed they no longer possessed this evidence – notwithstanding

their apparent awareness that such records would be crucial to their defense.

                              DISCUSSION OF LAW

I.    Applicable Legal Standards
      This Court possesses exclusive jurisdiction over claims brought under 19

U.S.C. § 1592 pursuant to 28 U.S.C. § 1582(1) (2012). As the party invoking the

Court’s jurisdiction, the Government bears the burden of demonstrating that the

Court’s subject-matter jurisdiction exists. See Cedars-Sinai Med. Ctr. v. Watkins,

11 F. 3d 1573, 1583 (Fed. Cir. 1993) (citing KVOS, Inc. v. Asso. Press, 299 U.S.

269 (1936)).

      “In deciding a motion to dismiss for failure to state a claim upon which

relief can be granted, the court assumes all factual allegations in the complaint to

be true and draws all reasonable inferences in favor of the plaintiff.” United States

v. Maverick Marketing, LLC, 295 F. Supp. 3d 1349, 1351–52 (Ct. Int’l Trade 2018)

(citing Cedars–Sinai Med. Ctr., 11 F. 3d at 1584 n.13; Gould, Inc. v. United States,

935 F. 2d 1271, 1274 (Fed. Cir. 1991)). When considering a motion to dismiss,


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this Court assumes “all well-pled factual allegations are true and indulges all

reasonable inferences in favor of the nonmovant.” Gould, 935 F.2d at 1274.

      A.     Rule 8

      USCIT Rule 8 requires that a complaint must include: “(1) a short and plain

statement of the grounds for the court’s jurisdiction, [] (2) a short and plain

statement of the claim showing that the pleader is entitled to relief[,] and (3) a

demand for the relief sought[.]” USCIT R. 8(a). Such a statement must “‘give the

defendant fair notice of what the . . . claim is and the grounds upon which it rests.’”

Twombly, 550 U.S. at 555 (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)).

      USCIT Rules 8(a)(2) and 12(b)(6) together create a standard of pleading that

recognizes the imposition of litigation costs must be justified by factual allegations

establishing a plausible entitlement to relief. A complaint must contain sufficient

factual allegations “to raise a right to relief above the speculative level” in order to

survive a motion to dismiss under Rule 12(b)(6). Id. Rule 8 “does not require

‘detailed factual allegations.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S.

at 555). Indeed, the Supreme Court has held that, “[t]he plausibility standard is not

akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that

a defendant has acted unlawfully.” Id.

      To properly state a claim for relief under 19 U.S.C. § 1592(a), the complaint

must include “sufficient facts to show that a person entered or introduced, or


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attempted to enter or introduce, merchandise into United States commerce by

means of either (i) a material and false statement, document, or act, or (ii) a

material omission.” Maverick Marketing, 295 F. Supp. 3d at 1352 (citing 19

U.S.C. § 1592(a)(1)(A)(i-(ii)).

      B.     Rule 9b

             i. Purpose and Application

      The pleading standard set forth by Rule 8 is heightened in cases where the

complaint alleges fraudulent conduct, as “a party must state with particularity the

circumstances constituting fraud,” but “[m]alice, intent, knowledge and other

conditions of person’s may be alleged generally.” USCIT R. 9(b), see also Tellabs,

Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 319 (2007). A complaint of

fraud “must include informational elements of ‘who, what, when, where, and how:

the first paragraph of any newspaper story.’” United States v. Islip, 18 F. Supp. 2d

1047, 1063 (Ct. Int’l Trade 1998) (quoting DiLeo, 901 F. 2d at 627).

      Rule 9(b)'s heightened pleading standard is driven by three aims: The first is

to ensure “‘that allegations of fraud will not be advanced lightly or without some

factual basis.’” United States v. Priscilla Modes, Inc., 9 CIT 598, 599 (1985)

(quoting Fulk v. Bagley, 88 F.R.D. 153, 164 (M.D.N.C. 1980)). Second, “Rule 9

represents a policy decision to protect potential fraud defendants from litigation

based on nothing but rumor or speculation.” United States ex rel. Prose v. Molina


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Healthcare of Il., Inc., 10 F. 4th 765, 773 (7th Cir. 2021). And most importantly, it

is to ensure that allegations of fraud in a complaint are “concrete and particularized

enough to give notice to . . . enable the defendant[] to prepare a defense[.]” Currie

v. Cayman Resources Corp., 595 F. Supp. 1364, 1371 (N.D. Ga. 1984).

             ii.    Rule 9(b) Is Satisfied Where A Complaint Identifies the Dates,
                    Places and Persons Surrounding Fraudulent Activity
      Although the jurisprudence surrounding Rule 9(b) involves a variety of

alleged fraud schemes, courts have been uniform when describing what type of

information in a complaint satisfies the rule. In virtually all cases, this issue will

turn upon whether a complaint identifies the dates, place, and persons related to the

false claim. Or, in the words of the Federal Circuit, a complaint alleging fraud

must identify “‘the who, what, when, where, and how’ of the alleged fraud.”

Exergen Corp., 575 F. 3d at 1327 (quoting DiLeo, 901 F. 2d at 627).

      It is settled law that, to satisfy Rule 9(b), “the circumstances that must be

detailed [in a complaint] include allegations such as the time, the place, the identity

of the parties involved, and the nature of the fraud or mistake.” § 1241 Statement

of Particular Matters—Fraud, Mistake, and Conditions of Mind, 5 Fed. Prac. &

Proc. Civ. § 1241 (4th ed.). Accordingly, this Court and others have “required the

claimant to allege at a minimum the person who made the fraudulent statement; the

time, place, and content of the misrepresentation; the resulting injury; and the



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method by which the misrepresentation was communicated.” Islip, 18 F. Supp. 2d

at 1063 (citing 2 Moore’s Federal Practice § 9.03, at 9–18 n.12 (3d ed. 1998)).

      In United States ex rel. Karvelas v. Melrose-Wakefield Hosp., 360 F. 3d 220

(1st Cir. 2004), the First Circuit supplied an apt description of what may be

required to pass muster under Rule 9(b):

             details concerning the dates of the claims, the content
             of the forms or bills submitted, their identification numbers,
             the amount of money charged to the government, the
             particular goods or services for which the government was
             billed, the individuals involved in the billing, and the length
             of time between the alleged fraudulent practices and the
             submission of claims based on those practices are the types
             of information that may help a [plaintiff] state his or her
             claims with particularity.
Id. at 233. The First Circuit made clear that these desiderata “do not constitute a

checklist of mandatory requirements that must be satisfied by each allegation

included in a complaint” but rather “‘some of this information . . . must be pleaded

in order to satisfy Rule 9(b).’” Id. (quoting United States ex rel. Clausen v. Lab

Corp. of Am., Inc., 290 F. 3d 1301, 1312 n.21 (11th Cir. 2002)).

      In practice, courts have long subscribed to the “time-place-person” standard

of Rule 9(b). Accordingly, courts have granted Rule 9(b) dismissals when a

plaintiff does not plead specific instances of alleged fraud. See United States ex

rel. Bledsoe v. Cmty. Health Sys., Inc., 501 F. 3d 493, 515 (6th Cir. 2007)

(complaint lacked specific dates for false claims allegedly submitted); United


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States ex rel. Sikkenga v. Regence Bluecross Blueshield of Utah, 472 F. 3d 702,

727-28 (10th Cir. 2006) (complaint failed to identify fraudulent claims submitted,

or the dates on which they were submitted); United States ex rel. Keeler v. Eisai,

Inc., 568 Fed. Appx 783, 797-98 (11th Cir. 2014) (complaint failed to plead

specific instances and circumstances of alleged false claims).

      On the other hand, where complaints identify specific claims or dates of

alleged fraud, courts have consistently held that they pass muster under Rule 9(b).

See, e.g., United States ex rel. Chorches for Bankr. Estate of Fabula v. Am. Med.

Response, Inc., 865 F. 3d 71, 91-92 (2nd. Cir. 2017) (complaint satisfied Rule 9(b)

by pleading the specific dates and contents of misrepresentations); United States ex

rel. Grubbs v. Kanneganti, 565 F.3d 180, 192 (5th Cir. 2009) (complaint listed

dates and services fraudulently billed for but not provided to the Government as

“likely, circumstantial evidence” of fraud); United States ex rel. Anita Silingo v.

WellPoint, Inc., 904 F.3d 667, 678-79 (9th Cir. 2018) (overturning district court

dismissal of a complaint that alleged fraud based on defendant’s former employees

allegations of conduct providing circumstantial evidence of a fraud scheme). See,

e.g., 12A Wright & Miller, App. D Form 13 (“Defendant C.D. on or about ___

conveyed all his property, real and personal [or specify and describe] to defendant

E.F. for the purpose of defrauding plaintiff and hindering and delaying the

collection of the indebtedness evidenced by the note above referred to.”).


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             iii. Complex And Corporate Fraud Schemes

      Courts have recognized that the Rule 9(b) particularity requirement largely

depends on the nature of the fraud alleged. See E-Shops Corp. v. U.S. Bank Nat.

Ass’n, 678 F. 3d 659, 663 (8th Cir. 2012) (The level of particularity required [under

Rule 9(b)] depends on the nature of a case) (citing BJC Health Sys. v. Columbia

Cas. Co., 478 F. 3d 908, 917 (8th Cir. 2007)). Furthermore, the specificity

requirement may be relaxed at the pleading stage as an exception in cases where

necessary evidence of fraud is in the exclusive control of the defendant or when a

fraudulent scheme alleged is complex or occurred over a long period of time.

United States ex rel. Ellis v. Sheikh, 583 F. Supp. 2d 434, 438-39; United States ex

rel. Trombetta v. EMSCO Billing Services, Inc., 2002 WL 34543515, at *3 (N.D.

Ill. Dec. 5, 2002); 5 Wright & Miller, FEDERAL PRACTICE & PROCEDURE § 1298,

at 647 (2d ed. 1990); United States ex rel. Semtner v. Medical Consultants, Inc.,

170 F.R.D. 490, 498 (W.D. Okla. 1997) (“a fraudulent scheme that has occurred

over a long period of time with perhaps thousands of billing documents need not

be pled with reference to the exact nature of each allegedly fraudulent document.”).

However, when a plaintiff alleges a “‘complex and far-reaching fraudulent scheme’

. . . it is insufficient to simply plead the scheme[.]” Chesbrough v. VPA P.C., 655 F.

3d 461, 470 (6th Cir. 2011) (quoting Bledsoe, 501 F. 3d at 510-1).




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      In cases of corporate fraud and conspiracies, especially when the fraudulent

scheme are complex and proof of the scheme rests within the defendant’s

knowledge, “[Rule 9(b)] may be relaxed” because “plaintiffs will not have personal

knowledge of all of the underlying facts.” Moore v. Kayport Package Exp., Inc.,

885 F. 2d 531, 540 (9th Cir. 1989). In such cases, “a pleading is sufficient . . . if it

identifies the circumstances constituting fraud so that a defendant can prepare an

adequate answer from the allegations.” Rubenstein v. Neiman Marcus Grp. LLC,

687 Fed. Appx. 564, 568 (9th Cir. 2017) (citing Moore, at 540).

      Therefore, where, as in this case, “the defendant is a corporation,1 Rule 9(b)

requires a claimant to identify the corporate party involved, but when particular

evidentiary matters are exclusively within the defendant’s knowledge, the claimant

is not required to identify specific individuals who may have engaged in the

alleged fraudulent activities.” United States ex rel. Scott v. Actus Lend Lease, 2011

WL 13177635, at *6 (C.D. Cal. Apr. 22, 2011). Similarly, where a conspiracy is

alleged, “courts have recognized that the nature of conspiracies often makes it

impossible to provide details at the pleading stage and that the pleader should be




1 Section 1592 instructs that “no person, by fraud, gross negligence, or negligence
– may enter . . . merchandise into the commerce of the United States[.]” 19 U.S.C.
§ 1592(a)(1) (emphasis supplied). The term “person” includes corporate persons as
well as natural persons. See United States v. Trek Leather, Inc., 767 F.3d 1288,
1299 (Fed. Cir. 2014) (en banc).
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allowed to resort to the discovery process and not be subjected to a dismissal of his

complaint.” 5 Wright & Miller, § 1233, at 257.

      These decisions emerge from the common-sense recognition that companies

which have committed fraud normally do not divulge information reflecting that

they have committed fraud – to their own employees, agents, or other outsiders, or

to the Government in response to a regulatory inquiry. To the contrary, experience

and common sense teach that companies which have committed fraud conceal,

obfuscate, alter or destroy such evidence and records, rather than disclosing it.

Thus, it is patently absurd to assert, as defendants do, Mot. at 15, that the

complaint could somehow identify the employees and agents in a conglomerate of

tens of thousands who carried out defendants’ fraud scheme, or describe what these

employees and agents did. Defendants cite to no authority which would require

such a showing at the complaint stage where corporations are defendants, because

there is no such authority. Cf. United States ex rel. Bledsoe, 501 F. 3d 493, 506

(6th Cir. 2007) (rejecting defendant’s contention that the plaintiff “must plead the

identity of the specific individual employees within the defendant corporation”

who perpetrated the fraudulent scheme).

      More to the point, the specific employees who conducted the fraud are not

the defendants; CCS and CCS USA are: “[I]t is the identity of the corporation, not

the identity of the natural person, that [plaintiff] must necessarily plead with


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particularity.” Id. “Rule 9(b) [does not] require the identification of individuals

within a defendant corporation.” Tri-Lift NC, Inc. v. Drive Automotive Industries

of America, Inc., 2021 WL 131017, at *4 (D.S.C. Jan. 13, 2021) (internal quotation

omitted); United States ex. rel. Stepe v. RS Compounding LLC, 325 F.R.D. 699,

706 (M.D. Fla. 2017) (“The names of the specific employees who submitted the

false claims are not required to satisfy Rule 9(b).”); Howard v. Cycare Sys., Inc.,

128 F.R.D. 159, 164 (D. Mass. 1989) (rejecting notion that, “the identity of the

defendant’s agents is necessary in order for the defendant to understand the basis of

the fraud claim and to be able to respond to it”); Allied Vision Group, Inc. v. RLI

Vision Corp., 1997 U.S. Dist. LEXIS 10805, at *17 (N.D. Ill. July 18, 1997) (Rule

9(b) satisfied where complaint alleged a corporation committed a tort without

identifying agents who performed the tortious acts); United States ex rel. Roby v.

Boeing Co., 184 F.R.D. 107, 110–11 (S.D. Ohio 1998) (“[defendant corporation’s]

contention that the [complaint] identify with specificity the persons involved in the

misconduct is overreaching. [Rule] 9(b) requires only requires identification of the

parties.”).

       For these reasons, defendants’ invocations of United States v. Greenlight

Organic, Inc., 419 F. Supp. 3d 1298 (Ct. Int’l Trade 2019), and United States v.

Chow, 841 F. Supp. 1286 (Ct. Int’l Trade 1983), are misplaced. Each opinion

involved complaints filed against individuals (i.e., natural persons) who owned


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importers of records, not companies. In both cases, the Court initially assessed that

the charged natural person's connection to the fraud was not sufficiently fleshed

out. By contrast, the extant matter does not charge individuals – it only charges

corporate defendants for their behavior qua corporations.

             iv. Rule 9(b) and Defendants’ Intent

      While USCIT Rule 9(b) requires that the circumstances amounting to fraud

be pleaded with specificity, “[m]alice, intent, knowledge, and other conditions of a

person’s mind may be alleged generally.” U.S. CT. INT’L. TRADE R. 9(b). “Thus,

under Rule 9(b), it is sufficient to plead the who, what, when, where, and how of

the allegedly false statements and then allege generally that those statements were

made with the requisite intent.” Mizzaro v. Home Depot, Inc., 544 F. 3d 1230, 1237

(11th Cir. 2008).

      The motion to dismiss before this Court questions whether the complaint

sufficiently pleads allegations to prove they are entitled to relief. While Rule 9(b)

requires particularity when pleading the circumstances of fraudulent activity, such

factual specificity is unnecessary for allegations of scienter. Accordingly, “at [the

pleading] stage, the proper inquiry is whether the proposed amendment would

survive a motion to dismiss, not whether a proposed amendment would succeed on

the merits.” Square One Armoring Servs. Co. v. United States, 152 Fed. Cl. 536,

547 (Fed. Cl. 2021). The only requirement for pleading a defendant’s state of mind


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is that “the pleadings allege sufficient underlying facts from which a court may

reasonably infer that a party acted with the requisite state of mind.” Exergen, 575

F. 3d at 1327; see also Konover Const. Corp. v. ATC Assos. Inc., 2012 WL

1552432, at *12 (D. Md. Apr. 27, 2012).

II.   The Amended Complaint Complies With Rules 8 And 9(b)
      A.     The Amended Complaint Supplies A Factual Account of
             Defendants' Fraud That is “Plausible On Its Face”
      The amended complaint in this case “state[s] a claim to relief that is

plausible on its face.” Iqbal, 556 U.S. at 663. The amended complaint identifies

each of the 543 false statements made by CCS and CCS USA. It details how

defendants carried out the fraud – i.e., by falsely classifying metal lids under

Subheading 7326.90. It identifies a motive for the fraud – defendants' avoidance of

duties on metal lids imported from Europe. It supplies evidence that CCS and CCS

USA submitted these false statements knowing they were false – including the long

history of these companies specializing in the manufacture and import of these

metal lids, their common ownership and management, their correct classification

of lids from Canada, and the virtually nil statistical probability that this false

classification could have been the result of a miraculous coincidence. These facts

“allow[] the court to draw the reasonable inference that the defendant[s are] liable

for the misconduct alleged.” Lifetime Industries, Inc. v. Trim-Lok, Inc., 869 F.3d

1372, 1376 (Fed. Cir. 2017) (citing Iqbal, 556 U.S. at 678).

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      Thus, the facts detailed in the amended complaint allow the Court to employ

this heuristic judgment connecting defendants' conduct and the circumstances to

the Government's theory of fraud. On these facts alone, Rule 9(b) has been

satisfied, and the Court's inquiry may end here.

      B.       The Amended Complaint Details The “Who, What, When,
               Where, And How” Of The Fraud Scheme
      But the amended complaint provides even more detail beyond the manner

and means of this conspiracy: it specifies the facts and circumstances surrounding

each of the 543 entries of metal lids fraudulently submitted by CCS and CCS USA.

      In this Circuit, Rule 9(b) is satisfied where a complaint identifies “the who,

what, where, when, and how” of a fraud scheme. Exergen Corp., 575 F. 3d at

1327. The amended complaint meets this standard. Specifically, Exhibit A to the

complaint identifies, for each of the 543 fraudulent entries:

              Who: The amended complaint specifies that CCS and CCS USA
               caused the fraudulent importation of the metal lids at issue. See ex rel.
               Bledsoe, 501 F.3d at 506 (“it is the identity of the corporation, not the
               identity of the natural person, that the [plaintiff] must necessarily
               plead with particularity.”)
              What: The amended complaint describes the merchandise imported
               under the false HTSUS subheading as metal lids.

              Where: Column A of Exhibit A identifies the port of entry for each
               entry. The amended complaint describes how the metal lids were
               manufactured in CCS-controlled factories in Europe and Canada and
               then shipped to the United States to the CCS and CCS USA office in
               Pennsylvania. The amended complaint also identifies the office
               address of CCS and CCS USA, from where defendants instructed
               their brokers to file the false declarations.
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              When: Column C of Exhibit A to the amended complaint identifies
               543 distinct dates of entry in which the defendant and its affiliated
               companies imported the metal lids under a false HTSUS subheading.

              How: The amended complaint details how the scheme was executed
               through the use of a false HTSUS subheading, in order to avoid the
               2.6 percent ad valorem duty rate associated with the correct
               subheading (8309.90.0000).

      This exhaustive depiction of “the who, what, where, when, and how” fully

satisfies the Government's obligation under Rule 9(b) in this Circuit. See Exergen

Corp., 575 F. 3d at 1327.

      C.       Defendants Have Demonstrated In Their Filings With This Court
               That The Government Has Satisfied Rule 9(b)

      The primary purpose of Rule 9(b) is to ensure a complaint’s allegations are

“specific enough to give defendants notice of the particular misconduct which is

alleged to constitute the fraud charged so that they can defend against the

charge[.]” United States ex rel. Anita Silingo v. WellPoint, Inc., 904 F.3d 667, 677

(9th Cir. 2018). In their reply brief to their first motion to dismiss (ECF No. 14)

and the extant motion, defendants demonstrated that (1) they understand precisely

the fraud alleged in the Government's original complaint, and (2) they already have

prepared defenses for each and every fraudulent submission at issue in this action.

Defendants cannot claim that they do not understand the Government's fraud case

against them, or that they are unaware of what conduct the amended complaint




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alleges is fraudulent, or that they are unable to respond to the amended complaint.

They have already articulated their defenses.

       Defendants' reply brief previewed the defenses they may present at trial.

First, defendants offered a prolix excuse for the fraud, claiming that all of the

Crown companies at issue were engaged in an “intercompany realignment,” ECF

No. 14 at 6-7, and that the alleged fraud was, in fact, the result of “an absence of

coordination resulting from this major reorganization.” Id. at 7. Next, defendants

offered another defense to the facts alleged in the original complaint, claiming that

the fraud was caused by their brokers. Id. at 8 (describing “the critical fact that

different customs brokers were used to enter those can ends imported from Canada

and those imported from Europe”). Later in their reply brief, defendants again

described how they will respond to the Government's allegations of fraud: they

claimed that the false statements in the complaint were caused because defendants

“lacked oversight of different brokers handling shipments of can ends from two

different parts of the world.” Id. at 14. Defendants repeated this defense in their

extant motion. See Mot. at 16. (“the Crown Companies relied on different,

external unrelated customs brokers for entering the can ends imported from Canada

and those from Europe”). Indeed, their most recent filing reads more like a

summary judgment opposition, offering numerous factual explanations as defenses

to allegations in the amended complaint. See Mot. at 14 (blaming the “lack of


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oversight of different brokers”); id. at 16 (arguing that defendants took corrective

action); id. at 17 (arguing that not all Canadian lids imported were correctly

classified); id. at 17-18 (arguing that their agents had no motive to commit the

fraud); id. at 20-21 (arguing that defendants made too much money in other areas

to commit the fraud alleged); id. at 21 (blaming the size of these companies and

again, defendants' brokers). These proposed defenses and statements of purported

fact make evident that defendants know full well how to respond to every

allegation and every act of fraud identified in the amended complaint.

      Whether dubious or valid, defendants' litany of factual responses, arguments,

and defenses on the merits evince that the Government’s allegations of fraud were

“specific enough to give defendants notice of the particular misconduct which is

alleged to constitute the fraud charged so that they can defend against the

charge[.]” WellPoint, Inc., 904 F.3d at 677. Given that the amended complaint

expanded upon the allegations in the original complaint, defendants’ responses

make clear that the allegations of fraud in the amended complaint are “concrete

and particularized enough to give notice to . . . enable the defendant[] to prepare a

defense[.]” Currie v. Cayman Resources Corp., 595 F. Supp. 1364, 1371 (N.D. Ga.

1984). In sum, by articulating these defenses, defendants have demonstrated that

the Government's amended complaint provides the notice required by Rule 9(b).




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      D.       Defendants Arguments Regarding Intent Are Meritless

      Apart from disputing facts alleged in the amended complaint, the thrust of

defendants’ argument is that they did not possess the requisite intent to commit

fraud. See Mot. at 16-22. As discussed above, these arguments over facts are

misplaced here – they are of the type made to a jury at closing argument. But they

also reflect a misunderstanding of Rule 9. Contrary to defendants' arguments, Rule

9(b) explicitly states that “[m]alice, intent, knowledge, and other conditions of a

person’s mind may be alleged generally.” USCIT R. 9(b). A complaint need only

“set forth specific facts supporting an inference of fraudulent intent.” Ibe v. Jones,

836 F. 3d 516, 525 (5th Cir. 2016) (citing Melder v. Morris. 27 F.3d 1097, 1102

(5th Cir. 1994)); see also Aetna Cas. and Sur. Co. v. Aniero Concrete Co., Inc., 404

F. 3d 566, 579 (2nd Cir. 2005) (conclusory assertions of intent are sufficient if

supported by facts giving rise to an inference of fraudulent intent); United States

ex rel. Wilson v. Kellogg Brown & Root, Inc., 525 F.3d 370, 379 (4th Cir. 2008)

(same). To accomplish this, a complaint must “alleg[e] facts to show that

defendants had both motive and opportunity to commit fraud, or . . . alleg[e] facts

that constitute strong circumstantial evidence of conscious misbehavior or

recklessness.” Schwartzco Enters. LLC. v. TMH Mgmt., LLC, 60 F. Supp. 3d 331,

344 (E.D.N.Y. 2014) (quoting Lerner v. Fleet Bank, N.A., 459 F.3d 273, 290-91 (2d

Cir. 2006)).


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      The amended complaint plainly depicts a motive, opportunity, and intent to

commit fraud. Defendants’ opportunity is apodictic: there is no dispute they

actually submitted false statements. The amended complaint set forth their motive

to misclassify their metal lid imports from Europe – i.e., avoiding the 2.6 percent

tariff levied on metal lid imports, which allowed them to avoid payment of almost

$1.3 million in duties. That more than 99 percent of metal lid imports from Europe

were incorrectly classified while more than 99 percent of the same lids Canada

were correctly classified, is insuperable circumstantial evidence of intent. The

Government has satisfied Rule 9(b)'s requirements relating to pleading intent.

      E.      Defendants’ Argument Regarding Gross Negligence Is Meritless

      Defendants attempt to bootstrap onto their Rule 9(b) argument to dismiss the

fraud count an argument that the Government's gross-negligence count should be

dismissed. These arguments have no merit.

      First, defendants contend that the Government's gross negligence claim

should be dismissed because of the Supreme Court's ruling in Iqbal:

           As the Supreme Court has made clear, such conclusory pleading
           does not suffice to state a valid claim of fraud or gross
           negligence. Ashcroft v. Iqbal, 556 U.S. 662 (2009).
Mot. at 4-5. Defendants follow through by claiming that the Supreme Court

promulgated a “directive” in Iqbal regarding gross negligence, and further, claimed

that USCIT Rule 9(b) applied to claims for gross negligence:


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         The Government has not followed the Court’s directive and
         again fails to plead fraud and gross negligence with requisite
         particularity pursuant to Rule 9(b).
Mot. at 5.

      Defendants' arguments have no basis in law. Their assertion that Iqbal

addressed claims for gross negligence, Mot. at 4-5, is patently false: Iqbal had

nothing to do with gross negligence. The term “gross negligence” appears

nowhere in Iqbal. Iqbal involves a Bivens complaint against the U.S. Attorney

General and others. See 556 U.S. at 667. Contrary to defendants’ statements, Iqbal

has nothing, whatsoever, to do with gross negligence or even mistakes of fact.

      Also false is defendants’ assertion that Rule 9(b) applies to gross negligence

claims. See Mot. at 5 (the Government failed to plead “gross negligence with

requisite particularity pursuant to Rule 9(b)”). Rule 9(b) has nothing to do with

gross negligence. The plain language of Rule 9(b) applies to fraud claims and

makes no reference to gross negligence. Neither this Court nor any other has ever

suggested that Rule 9(b) would apply to actions alleging gross negligence.

      Defendants’ parade of legal edicts untethered to actual judicial opinions

continues in their conjuring of a new pleading rule for gross negligence claims

from United States v. Great Neck Saw Manufacturers, Inc., 311 F. Supp.3d 1337

(Ct. Int’l. Trade 2018). In Great Neck, the defendant company sought to dismiss

the Government’s gross negligence allegations. Id. at 1341. This Court rejected


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the defendant’s arguments because the company was explicitly notified by

Customs of their wrongdoing and chose to ignore the warning. Id. at 1342-3.

From these facts, defendants adduce a new pleading standard: they declare, ipse

dixit, that a claim for gross negligence claim must involve a prior notification, and

that a subsequent decision to ignore the warning amounts to gross negligence.

Mot. at 29-32. They conclude their cause with the inverted legal reasoning that

because we do not, in amended complaint, allege that the Government gave

defendants a prior warning, as in Great Saw, the complaint did not adequately state

a claim for relief. Mot. at 32. There is simply no legal support for this contrived

standard. And defendants allude to no case which would suggest that a gross

negligence case categorically requires such prior notice. To the contrary, courts

have recognized that for purposes of the complaint, “[t]he level of [necessary]

particularity depends on the nature of the case.” E–Shops Corp., 678 F.3d at 663.

      The amended complaint pleads facts supporting the inference that

defendants' false statements were made by gross negligence. The Government

must allege facts that support that defendants “acted 'with actual knowledge of or

wanton disregard for the relevant facts and with indifference to or disregard for the

offender’s obligations under the statute.’” United States v. Sterling Footwear, Inc.,

279 F. Supp.3d 1113, 1138 (Ct. Int’l Trade 2017) (quoting 19 C.F.R. Pt. 171, App.

B(C)(2)). The amended complaint alleges that CCS and CCS USA caused 543


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false statements to be submitted to CBP. It depicts how defendants did so

knowingly, explaining that defendants demonstrated they understood how to

correctly classify the metal lids from Europe by correctly classifying the same lids

when they came from Canada. Am. Compl. ¶¶ 17-23. Put in the context of Great

Neck, CCS and CCS USA did not need the Government to inform them that their

conduct was wrong – they demonstrated by their contemporaneous conduct that

they were already aware of it. Id. The amended complaint supplies an adequate

factual basis for the inference that defendants submitted these false statements,

“with actual knowledge of or wanton disregard for the relevant facts and with

indifference to or disregard for the offender’s obligations under the statute.”

Sterling Footwear, Inc., 279 F. Supp.3d at 1138. It “‘give[s] the defendant fair

notice of what the . . . claim is and the grounds upon which it rests.’” Twombly,

550 U.S. at 555 (quoting Conley, 355 U.S. at 47); USCIT R. 8(a).

      Not content to merely contrive law from thin air, defendants close by again

attempting to mislead the Court. Again defendants claim that CCS and CCS

USA’s false statements – false statements that these companies, as a matter of fact

and law, caused to be submitted to CBP – were a “mislabeling by a broker[.]” Mot.

at 32. This is a flagrant falsehood. Defendants are fully aware that their customs

brokers never saw or possessed any of these metal lids, never purchased these

metal lids, relied exclusively upon CCS and CCS USA for instruction on how to


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classify these metal lids, and certainly could not have “mislabeled” these goods.

As the amended complaint describes, CCS and CCS USA purchased these metal

lids from their related-company manufacturers, and instructed their brokers on how

to classify these lids. Am. Compl. ¶ 15. As a matter of law, CCS and CCS USA

are responsible for the false statements they caused to be made to CBP – not their

brokers. Id. ¶ 16.

                                  CONCLUSION

      The amended complaint details a narrative of defendants’ fraud that is

“plausible on its face,” Iqbal, 556 U.S. at 663, and permits “the court to draw the

reasonable inference that the defendant[s are] liable for the misconduct alleged.”

Lifetime Industries, Inc., 869 F.3d at 1376. Appended to the amended complaint is

a table listing the “who, what, when, where and how” of each of the 543 entries

made by CCS and CCS USA. Exergen Corp., 575 F. 3d at 1327. Defendants

showed by their counter-arguments and challenges to facts alleged that they fully

understand and may defend themselves against the claims at issue – i.e., the

amended complaint is “specific enough to give defendants notice of the particular

misconduct which is alleged to constitute the fraud charged so that they can defend

against the charge[.]” WellPoint, Inc., 904 F.3d at 677. The Government has met

the standard articulated in Rule 9(b). Otherwise, defendants supply no coherent

support for their argument that the gross negligence claim should be dismissed.


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      Therefore, for reasons stated above, the Government respectfully requests

that the Court deny defendants’ motion to dismiss.

                                             Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE

      I, William Kanellis, an attorney in the Civil Division, Commercial Litigation

Branch of the U.S. Department of Justice, who is responsible for the Government’s

opposition to defendants’ motion to dismiss dated July 27, 2021, relying upon the

word-count feature of the word-processing program used to prepare the pleading,

certify that this filing complies with the word-count limitation under the Court’s

chambers procedures, and contains 7,676 words.


                                              /s/ William Kanellis




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